                         Case 1:19-cv-01284-DLC Document 6 Filed 02/11/19 Page 1 of 6
AO 120 (Rev. 08/10)

                            Mail Stop 8                                                        REPORT ON THE
TO:
         Director of the U.S. Patent and Trademark Office                              FILING OR DETERMINATION OF AN
                           P.O. Box 1450                                               ACTION REGARDING A PATENT OR
                    Alexandria, VA 22313-1450                                                    TRADEMARK

                 In Compliance with 35 U.S.C. § 290 and/or 15 U.S.C. § 1116 you are hereby advised that a court action has been
         filed in the U.S. District Court                   Southern District of New York                              on the following
      ✔ Trademarks or
      G                       G Patents.    (   G   the patent action involves 35 U.S.C. § 292.):

DOCKET NO.                        DATE FILED                        U.S. DISTRICT COURT
       19-cv-01284                         2/11/2019                                       Southern District of New York
PLAINTIFF                                                                    DEFENDANT
 Conair Corporation                                                            Clark Associates, Inc. and The Webstaurant Store



        PATENT OR                      DATE OF PATENT
                                                                                        HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                    OR TRADEMARK
1 4989133                                  6/28/2016                   Conair Corporation

2 5036889                                   9/6/2016                   Conair Corporation

3 4923632                                  3/22/2016                   Conair Corporation

4 3761310                                  10/26/2015                  Conair Corporation

5                                                                      see attached list


                                In the above—entitled case, the following patent(s)/ trademark(s) have been included:
DATE INCLUDED                     INCLUDED BY
                                                         G
                                                     Amendment                  G   Answer          G   Cross Bill   G   Other Pleading
        PATENT OR                      DATE OF PATENT
                                                                                        HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                    OR TRADEMARK
1

2

3

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                      In the above—entitled case, the following decision has been rendered or judgement issued:
DECISION/JUDGEMENT




CLERK                                                        (BY) DEPUTY CLERK                                          DATE



Copy 1—Upon initiation of action, mail this copy to Director Copy 3—Upon termination of action, mail this copy to Director
Copy 2—Upon filing document adding patent(s), mail this copy to Director Copy 4—Case file copy
              Case 1:19-cv-01284-DLC Document 6 Filed 02/11/19 Page 2 of 6




PATENT OR               DATE OF PATENT OR        HOLDER OF PATENT OR
TRADEMARK NO.           TRADEMARK                TRADEMARK
RN: 4989133             June 28, 2016            Conair Corporation


RN: 5036889             September 6, 2016        Conair Corporation


RN: 4923632             March 22, 2016           Conair Corporation


RN: 3761310             October 26, 2015         Conair Corporation


RN: 3958734             April 13, 2017           Conair Corporation


RN: 3651099             April 18, 2015           Conair Corporation


RN: 4317990             April 9, 2013            Conair Corporation


RN: 4201165             June 24, 2018            Conair Corporation


RN: 4139277             September 30, 2017       Conair Corporation


RN: 4276979             November 2, 2018         Conair Corporation


RN: 4197412             September 30, 2017       Conair Corporation


RN: 4489460             February 25, 2014        Conair Corporation


RN: 4285285             November 13, 2018        Conair Corporation


RN: 4384053             August 13, 2013          Conair Corporation


RN: 4507468             April 1, 2014            Conair Corporation
               Case 1:19-cv-01284-DLC Document 6 Filed 02/11/19 Page 3 of 6



PATENT OR                DATE OF PATENT OR          HOLDER OF PATENT OR
TRADEMARK NO.            TRADEMARK                  TRADEMARK
RN: 4589539              August 19, 2014            Conair Corporation


RN: 4507605              April 1, 2014              Conair Corporation


RN: 4432548              November 12, 2013          Conair Corporation


RN: 4463618              January 7, 2014            Conair Corporation



RN: 5114595              January 3, 2017            Conair Corporation


SN: 87889224             Pending - Examiner's       Conair Corporation
                         Amendment Mailed January
                         31, 2019
                         Filed: April 23, 2018


RN: 1183520              December 29, 1981          Conair Corporation


RN: 2729355              June 24, 2003              Conair Corporation


RN: 2925947              February 8, 2005           Conair Corporation


RN: 3101863              June 6, 2006               Conair Corporation


RN: 1048883              September 28, 1976         Conair Corporation


RN: 3486387              August 12, 2008            Conair Corporation


RN: 1831908              April 19, 1994             Conair Corporation


RN: 2270641              August 17, 1999            Conair Corporation

RN: 2313580              February 1, 2000           Conair Corporation
               Case 1:19-cv-01284-DLC Document 6 Filed 02/11/19 Page 4 of 6



PATENT OR                DATE OF PATENT OR             HOLDER OF PATENT OR
TRADEMARK NO.            TRADEMARK                     TRADEMARK
RN: 2537394              February 5, 2002              Conair Corporation


RN: 2765776              September 16, 2003            Conair Corporation


RN: 3178566              November 28, 2006             Conair Corporation


RN: 3286911              August 28, 2007               Conair Corporation


RN: 3587789              March 10, 2009                Conair Corporation


RN: 5291175              September 19, 2017            Conair Corporation


RN: 4728452              April 28, 2015                Conair Corporation


RN: 4654197              December 9, 2014              Conair Corporation


RN: 4668200              January 6, 2015               Conair Corporation


SN: 87599752             Allowed - Intent to Use 1st   Conair Corporation
                         Extension of Time Granted
                         August 31, 2018
                         Filed: September 7, 2017


RN: 3345515              November 27, 2007             Conair Corporation


RN: 3673593              August 25, 2009               Conair Corporation


RN: 4091729              January 24, 2012              Conair Corporation


RN: 4522636              April 29, 2014                Conair Corporation


RN: 4467225              January 14, 2014              Conair Corporation
               Case 1:19-cv-01284-DLC Document 6 Filed 02/11/19 Page 5 of 6



PATENT OR                DATE OF PATENT OR             HOLDER OF PATENT OR
TRADEMARK NO.            TRADEMARK                     TRADEMARK
RN: 4097040              February 7, 2012              Conair Corporation


RN: 3599455              March 31, 2009                Conair Corporation


RN: 4668201              January 6, 2015               Conair Corporation


SN: 87431604             Allowed - Intent to Use 2nd   Conair Corporation
                         Extension of Time Granted
                         October 1, 2018
                         Filed: May 1, 2017


RN: 4254780              December 4, 2012              Conair Corporation


RN: 5096750              December 6, 2016              Conair Corporation


RN: 3845912              September 7, 2010             Conair Corporation


RN: 4154956              June 5, 2012                  Conair Corporation


RN: 4318794              April 9, 2013                 Conair Corporation


RN: 3137151              August 29, 2006               Conair Corporation


RN: 4460037              December 31, 2013             Conair Corporation


RN: 4552959              June 17, 2014                 Conair Corporation


RN: 4664725              December 30, 2014             Conair Corporation


RN: 4964947              May 24, 2016                  Conair Corporation


RN: 3764960              November 14, 2015             Conair Corporation
               Case 1:19-cv-01284-DLC Document 6 Filed 02/11/19 Page 6 of 6



PATENT OR                DATE OF PATENT OR             HOLDER OF PATENT OR
TRADEMARK NO.            TRADEMARK                     TRADEMARK
RN: 4460064              December 31, 2013             Conair Corporation


SN: 87331856             Allowed - Intent to Use 1st   Conair Corporation
                         Extension of Time Granted
                         August 20, 2018
                         Filed: February 10, 2017


RN: 4641505              November 18, 2014             Conair Corporation

RN: 3356861              December 18, 2007             Conair Corporation


RN: 4097038              November 30, 2017             Conair Corporation


RN: 4363672              July 9, 2013                  Conair Corporation


RN: 4317785              April 9, 2013                 Conair Corporation


RN: 4154957              June 5, 2012                  Conair Corporation


RN: 4109328              March 6, 2012                 Conair Corporation


RN: 4210729              September 18, 2012            Conair Corporation


RN: 4689849              February 17, 2015             Conair Corporation


RN: 4154961              June 5, 2012                  Conair Corporation


RN: 3598241              March 31, 2009                Conair Corporation


RN: 5460365              May 1, 2018                   Conair Corporation
